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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )         Case No. 4:16CR3038-4
                    Plaintiff,             )
                                           )
      vs.                                  )         TENTATIVE
                                           )         FINDINGS
CAROLINA B. LARA,                          )
                                           )
                    Defendant.             )

      I am in receipt of the modified presentence investigation report, and the
defendant’s motions for departure and variance, in this case.

      IT IS ORDERED that:

       (1) The undersigned will consult and follow or deviate from the Guidelines
to the extent permitted and required by United States v. Booker, 543 U.S. 220(2005)
and subsequent cases. In this regard, the undersigned gives notice that, unless
otherwise ordered, he will (a) give the advisory Guidelines such weight as they
deserve within the context of each individual case and will filter the Guidelines
general advice through §3553(a)'s list of factors; (b) resolve all factual disputes
relevant to sentencing by the greater weight of the evidence and without the aid of a
jury; (c) impose upon the government the burden of proof on all Guideline-
enhancements; (d) impose upon the defendant the burden of proof on all Guideline-
mitigators; (e) depart from the advisory Guidelines, if appropriate, using pre-Booker
departure theory; and (f) in cases where a departure using pre-Booker departure theory
is not warranted, deviate or vary from the Guidelines when there is a principled reason
for doing so. I no longer give the Guidelines “substantial weight.”

      (2) The defendant’s motions for departure or variance (filing nos. 261 and
262) will be resolved at sentencing.
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       (3) Except to the extent (if at all) that I have sustained an objection or
granted a motion or reserved an issue for later resolution in the preceding paragraph,
the parties are herewith notified that my tentative findings are that the presentence
report is correct in all respects.

       (4) If any party wishes to challenge these tentative findings, said party shall,
as soon as possible, but in any event at least five (5) business days before sentencing,
file in the court file and serve upon opposing counsel and the court a motion
challenging these tentative findings, supported by (a) such evidentiary materials as are
required (giving due regard to the requirements of the local rules of practice respecting
the submission of evidentiary materials), (b) a brief as to the law and (c) if an
evidentiary hearing is requested, a statement describing why an evidentiary hearing
is necessary and how long such a hearing would take.

       (5) Absent submission of the information required by the preceding
paragraph of this order, my tentative findings may become final and the presentence
report may be adopted and relied upon by me without more.

      (6) Unless otherwise ordered, any motion challenging these tentative
findings shall be resolved at sentencing.

      October 25, 2017.

                                         BY THE COURT:

                                         s/ Richard G. Kopf
                                         Senior United States District Judge




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